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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

INLINE PACKAGING, LLC,                      )
                                            )
       Plaintiff,                           ) Civil No. 0:15-03183-ADM-LIB
                                            )
vs.                                         )
                                            ) DEFENDANT’S MOTION TO
GRAPHIC PACKAGING                           )     DISMISS COMPLAINT
INTERNATIONAL, INC.,                        )
                                            )
       Defendant.                           )

       Defendant Graphic Packaging International, Inc. (“Graphic”), pursuant to Federal

Rule of Civil Procedure 12(b)(6) and Local Rule 7.1(c), hereby moves the Court for an

Order dismissing the Complaint in its entirety.

       In the Complaint, Plaintiff asserts five causes of action: tortious interference with

prospective business relations (Count I); tortious interference with existing contractual

relations (Count II); misappropriation of trade secrets under Minn. Stat. ¶ 325C.01

(Count III); maintenance or use of a monopoly under Minnesota Stat. § 325D.52 (Count

IV); and monopolization in violation of the Section 2 of the Sherman Act (Count V).

While Plaintiff attaches various pejorative and conclusory labels to describe the conduct

it alleges Graphic has engaged in—such as “predatory,” “unfair,” and “sham”—Plaintiff

does not allege any facts that support these labels or that would push its claims from the

possible to the plausible.    The mere formulaic recitation of claim elements is not

sufficient to meet the pleading requirements of Rule 12. Rather, Plaintiff must set forth

specific facts, and not conclusions, to articulate an actual claim. Plaintiff’s failure to do



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so with respect to each claim identified in the Complaint requires dismissal of the entire

Complaint.

         This motion is based upon the supporting memorandum of law filed herewith and

all the files and proceedings in this case.



Date: September 15, 2015            Respectfully submitted,

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